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 5
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 6   SANTOS AVILA BUSTAMANTE
 7
 8                   IN THE UNITED STATES DISTRICT COURT
 9             IN AND FOR THE EASTERN DISTRICT OF CALIFORNIA
10
     UNITED STATES OF AMERICA,           )             CR. S. 05-0384 WBS
11                                       )
                    Plaintiff,           )             ORDER
12                                       )
     v.                                  )
13                                       )
     SANTOS AVILA BUSTAMANTE, et al., )
14                                       )
                    Defendants.          )
15   ___________________________________ )
16
           Based upon the stipulation of the parties, and good cause appearing, IT IS
17
     HEREBY ORDERED that the briefing schedule and non-evidentiary hearing
18
     herein are re-scheduled as follows:
19
           !      Government opposition to be filed by September 3, 2006.
20
           !      Optional defense reply to be filed by September 10, 2006.
21
           !      Non-evidentiary hearing on September 20, 2006, at 9:00 a.m.
22
           Further, IT IS ORDERED that time is excluded as per the terms of the
23
     stipulation between the parties.
24
25   DATE: July 25, 2006
26
27
28
